            Case
6/16/23, 9:23 PM 5:23-cv-11074-JEL-EAS     ECF Party
                                    The Libertarian No.Mail
                                                       17-17,      PageID.1049
                                                            - Fwd: Chair:                  Filed.org07/22/23
                                                                          Update regarding recent    mailing (resend)Page 1 of 2



                                                                                                         Secretary LNC <secretary@lp.org>



  Fwd: Chair: Update regarding recent .org mailing (resend)
  4 messages

  Andrew Chadderdon <andrew.chadderdon@gmail.com>                                           Thu, Jun 15, 2023 at 1:15 PM
  To: Angela McArdle <angela.mcardle@lp.org>, Secretary LNC <secretary@lp.org>, secretary <secretary@michiganlp.org>

    They sent it again to be confusing AND annoying.

    ---------- Forwarded message ---------
    From: <b.45.3738.e48a2819bf1d5c62@michiganlp.net>
    Date: Thu, Jun 15, 2023, 3:09 PM
    Subject: Chair: Update regarding recent .org mailing (resend)
    To: Andrew Chadderdon <andrew.chadderdon@gmail.com>


    --=_2c10beb8bb4a95277a696911602a4fa1
    Content-Transfer-Encoding: 8bit
    Content-Type: text/plain; charset=utf-8

    Official communication from the Libertarian Party of Michigan


    Fellow Michigan Libertarians:

    You may have received an email dated June 12 from Connor Nepomuceno
    claiming a 30-day deadline before a “convention”.

    I would like to remind everyone that the Libertarian Party of Michigan held
    its convention on April 1 in Lansing, and to clarify that Mr. Nepomuceno is
    referring to an upcoming meeting planned by the Chadderdon group.

    When you receive future correspondence from the “Libertarian Party of
    Michigan”, it is advisable to check the sender to confirm that it is
    correspondence sent from the “michiganlp.net”, which is us, the
    legitimate board of the LPM.

    The email also asked that you pay your membership dues to the LNC Legal
    Defense Fund because they sabotaged our access to your bank account and
    members funds. You can be confident in our ability to process and track
    your membership and use all members funds to do the work of the party in
    Michigan. You can donate to the party or to the LPM Legal Defense Fund
    with confidence.

    This confusion, which was created by and is being perpetuated by the Mises
    PAC-funded clique, is confusing for all of us, and I know we are all
    looking forward to the day when this matter is resolved.

    Until then, if you do receive any notifications and are unsure as to
    whether our board has sent them, please don’t hesitate to reach out to me
    personally or to other board members for confirmation.

    Thank you again for your understanding, and for your dedication to true
    libertarian principles here in our state.

    In Liberty,
    Mike Saliba
    Chair, Libertarian Party of Michigan

    Donate to LPM Legal Defense [1]                           EXHIBIT 56
https://mail.google.com/mail/u/1/?ik=8eeefd4fa3&view=pt&search=all&permthid=thread-f:1768797257479890747&simpl=msg-f:1768797257479890747&simpl=m…   1/3
            Case
6/16/23, 9:23 PM 5:23-cv-11074-JEL-EAS     ECF Party
                                    The Libertarian No.Mail
                                                       17-17,      PageID.1050
                                                            - Fwd: Chair:                  Filed.org07/22/23
                                                                          Update regarding recent    mailing (resend)Page 2 of 2
    Donate to LPM [2]
    Join/Renew Membership [3]


    Links:
    ------
    [1] https://civi.michiganlp.net/civicrm/mailing/url/?u=45&qid=3738
    [2] https://civi.michiganlp.net/civicrm/mailing/url/?u=46&qid=3738
    [3] https://civi.michiganlp.net/civicrm/mailing/url/?u=47&qid=3738

    To opt-out of all mailings: https://civi.michiganlp.net/civicrm/mailing/optout/?reset=1&jid=45&qid=3738&h=
    e48a2819bf1d5c62

    PO Box 614
    Royal Oak, MI 48068
    United States

    --=_2c10beb8bb4a95277a696911602a4fa1
    Content-Transfer-Encoding: 8bit
    Content-Type: text/html; charset=utf-8

    Official communication from the Libertarian Party of Michigan
    <p>&nbsp;</p>

    <p><big>Fellow Michigan Libertarians:</big></p>

    <p><big>You may have received an email dated June 12 from Connor Nepomuceno claiming a 30-day deadline before a
    &ldquo;convention&rdquo;.</big></p>

    <p><big>I would like to remind everyone that the Libertarian Party of Michigan held its convention on April 1 in Lansing,
    and to clarify that Mr. Nepomuceno is referring to an upcoming meeting planned by the Chadderdon group.</big></p>

    <p><big>When you receive future correspondence from the &ldquo;Libertarian Party of Michigan&rdquo;, it is advisable
    to check the sender to confirm that it is correspondence sent from the &ldquo;michiganlp.net&rdquo;, which is us, the
    legitimate board of the LPM.</big></p>

    <p><big>The email also asked that you pay your membership dues to the LNC Legal Defense Fund because they
    sabotaged our access to your bank account and members funds.&nbsp; You can be confident in our ability to process and
    track your membership and use all members funds to do the work of the party in Michigan.&nbsp; You can donate to the
    party or to the LPM Legal Defense Fund with confidence.</big></p>

    <p><big>This confusion, which was created by and is being perpetuated by the Mises PAC-funded clique, is confusing for
    all of us, and I know we are all looking forward to the day when this matter is resolved.</big></p>

    <p><big>Until then, if you do receive any notifications and are unsure as to whether our board has sent them, please
    don&rsquo;t hesitate to reach out to me personally or to other board members for confirmation.</big></p>

    <p><big>Thank you again for your understanding, and for your dedication to true libertarian principles here in our state.
    </big></p>

    <p><big>In Liberty,<br />
    Mike Saliba<br />
    Chair, Libertarian Party of Michigan</big></p>

    <p><big><a href="https://civi.michiganlp.net/civicrm/mailing/url/?u=45&amp;qid=3738" rel='nofollow'
    target="_blank">Donate to LPM Legal Defense</a><br />
    <a href="https://civi.michiganlp.net/civicrm/mailing/url/?u=46&amp;qid=3738" rel='nofollow' target="_blank">Donate to
    LPM</a><br />
    <a href="https://civi.michiganlp.net/civicrm/mailing/url/?u=47&amp;qid=3738" rel='nofollow' target="_blank">Join/Renew
    Membership</a></big></p>
    <br/><a href="https://civi.michiganlp.net/civicrm/mailing/optout/?reset=1&amp;jid=45&amp;qid=
    3738&amp;h=e48a2819bf1d5c62">Unsubscribe</a> <br/> <div class="location vcard"><span class="adr"><span
    class="street-address">PO Box 614</span><br /><span class="locality">Royal Oak</span>, <span
    class="region">MI</span> <span class="postal-code">48068</span><br /><span class="country-name">United
    States</span></span></div>
https://mail.google.com/mail/u/1/?ik=8eeefd4fa3&view=pt&search=all&permthid=thread-f:1768797257479890747&simpl=msg-f:1768797257479890747&simpl=m…   2/3
